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     CLAUDETTE ROBINSON
 9

10                            UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12

13
     WILLIAM ROBINSON, JR., an                )   Case No. 14-cv-01701 JAK (FFMx)
14                                            )
     individual                               )
15                                            )   [Hon. John A. Kronstadt]
                 Plaintiff,                   )
16                                            )
                                              )   ANSWER TO COMPLAINT BY
17         vs.                                )   DEFENDANT AND
                                              )   COUNTERCLAIMANT CLAUDETTE
18                                            )
     CLAUDETTE ROGERS ROBINSON,               )   ROBINSON
19   an individual,                           )
                                              )   DEMAND FOR JURY TRIAL
20                                            )
                 Defendant.                   )
21                                            )   [Counterclaims filed concurrently in
                                              )   paper format]
22                                            )
                                              )
23                                            )
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 1         Defendant and Counterclaimant Claudette Robinson (“Defendant”) hereby
 2   responds to the Complaint filed by Plaintiff and Counterdefendant William Robinson,
 3   Jr. (“Plaintiff”) as follows:
 4                                   SUMMARY OF ACTION
 5         1.       In responding to paragraph 1, Defendant admits that she is Plaintiff’s ex-
 6   wife. Further, on information and belief, Defendant admits that Plaintiff asserts a civil
 7   claim for declaratory relief against Defendant, arising out of ownership of certain
 8   copyrights to musical compositions (the “Community Musical Compositions”).
 9   Except as to those facts expressly admitted in this paragraph, Defendant denies the
10   remainder of the allegations.
11         2.       In responding to paragraph 2, Defendant admits that Plaintiff wrote the
12   Community Musical Compositions during the parties’ marriage. Defendant further
13   admits that the parties’ marriage ended in 1986. Except as to those facts expressly
14   admitted in this paragraph, Defendant lacks information and belief sufficient to enable
15   her to answer the allegations of this paragraph and, on this basis, denies the
16   allegations.
17         3.       In responding to paragraph 3, Defendant lacks information and belief
18   sufficient to enable her to answer the allegations of this paragraph concerning
19   whether, and when, Plaintiff has issued termination notices and, on this basis, denies
20   the allegations. In responding to paragraph 3, Defendant asserts that the allegations in
21   this paragraph concerning Plaintiff’s purported termination rights are legal
22   conclusions to which no response is required.
23         4.       In responding to paragraph 4, Defendant admits that she claims a 50%
24   interest in any of the Community Musical Compositions that Plaintiff has recaptured
25   and may recapture upon termination of the assignment to the music publisher. In
26   responding to paragraph 4, Defendant asserts that the allegations in this paragraph
27   concerning Plaintiff’s purported termination rights are legal conclusions to which no
28   ///
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 1   response is required. Except as to those facts expressly admitted in this paragraph,
 2   Defendant denies the remainder of the allegations.
 3            5.    In responding to paragraph 5, on information and belief, Defendant
 4   admits that Plaintiff purports to seek a judicial declaration regarding his ownership of
 5   all copyrights, interests therein, and income therefrom arising from his termination
 6   and recapture of his copyright assignments. In responding to paragraph 5, Defendant
 7   asserts that the allegations in this paragraph concerning Plaintiff’s purported
 8   termination rights are legal conclusions to which no response is required.
 9                                          PARTIES
10            6.    In responding to paragraph 6, Defendant admits that Plaintiff is an
11   individual residing in the City and County of Los Angeles, California.
12            7.    In responding to paragraph 7, Defendant admits that she is an individual
13   residing in the County of Los Angeles and City of Beverly Hills, California.
14                               JURISDICTION AND VENUE
15            8.    In responding to paragraph 8, Defendant admits that this Court has
16   jurisdiction over the subject matter of this action and that venue is proper in this
17   Court.
18                                FACTUAL BACKGROUND
19            9.    In responding to paragraph 9, Defendant admits that Plaintiff is a living
20   recording artist and songwriter.
21            10.   In responding to paragraph 10, Defendant lacks information and belief
22   sufficient to enable her to answer the allegations of this paragraph and, on this basis,
23   denies the allegations.
24            11.   In responding to paragraph 11, Defendant admits that she married
25   Plaintiff on November 7, 1959 and that she lived in Detroit and had two children with
26   Plaintiff. Defendant admits that in 1972, she moved to Los Angeles with Plaintiff.
27            12.   In responding to paragraph 12, Defendant admits on information and
28   belief that Plaintiff and Defendant separated on or about May 30, 1985 and divorced
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 1   in California in 1986. Defendant admits that pursuant to the divorce judgment, all
 2   copyrights, contract, and royalty rights to the musical compositions created between
 3   November 7, 1959 and May 30, 1985, the Community Musical Compositions, were
 4   divided between Plaintiff and Defendant as tenants-in-common, and that Defendant
 5   received a monthly spousal support payment, and real and personal property. Except
 6   as to those facts expressly admitted in this paragraph, Defendant denies the remainder
 7   of the allegations.
 8         13.    In responding to paragraph 13, Defendant admits that she did not write
 9   any part of the musical compositions at issue. With respect to the allegations in this
10   paragraph concerning the legal basis for her receipt of interests in musical
11   compositions, such allegations are legal conclusions to which no response is required.
12   Except as to those facts expressly admitted in this paragraph, Defendant denies the
13   remainder of the allegations.
14         14.    In responding to paragraph 14, on information and belief, Defendant
15   admits that Plaintiff was remarried to Frances, and that they currently reside in Los
16   Angeles. Except as to those facts expressly admitted in this paragraph, Defendant
17   lacks information and belief sufficient to enable her to answer and, on this basis,
18   denies the allegations.
19         15.    In responding to paragraph 15, Defendant admits, on information and
20   belief, that Plaintiff is issuing termination notices, and that he may be attempting to re-
21   assign the copyrights. Except as to those facts expressly admitted in this paragraph,
22   Defendant lacks information and belief sufficient to enable her to answer and, on this
23   basis, denies the allegations.
24         16.    In responding to paragraph 16, Defendant admits that a letter was written
25   on her behalf to SESAC, and that Exhibit A to the Complaint is a true copy of that
26   letter. Except as to those facts expressly admitted in this paragraph, Defendant denies
27   the remainder of the allegations.
28   ///
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 1         17.      In responding to paragraph 17, Defendant admits that her counsel sent the
 2   email that is attached to the Complaint as Exhibit B.         Except as to those facts
 3   expressly admitted in this paragraph, Defendant denies the remainder of the
 4   allegations.
 5         18.      In responding to paragraph 18, Defendant denies the factual allegations
 6   in this paragraph, to the extent any exist.
 7                                    CAUSE OF ACTION
 8                  FOR DECLARATORY RELIEF [28 U.S.C. §§ 2201-2202]
 9         19.      In responding to paragraph 19, Defendant incorporates herein by
10   reference the admissions, allegations and denials of paragraphs 1 through 18,
11   inclusive, of this Answer.
12         20.      In responding to paragraph 20, Defendant admits that there is a dispute
13   between the parties as to their respective rights in the Community Musical
14   Compositions.      Except as to those facts expressly admitted in this paragraph,
15   Defendant denies the remainder of the allegations.
16         21.      In responding to paragraph 21, Defendant asserts that the allegations in
17   this paragraph are legal conclusions to which no response is required. To the extent
18   any factual allegations are included therein, Defendant denies such allegations.
19         22.      In responding to paragraph 22, Defendant asserts that no factual
20   allegations are contained in this paragraph.
21         23.      In responding to paragraph 23, Defendant asserts that no factual
22   allegations are contained in this paragraph.
23         24.      In responding to paragraph 24, Defendant asserts that no factual
24   allegations are contained in this paragraph.
25         25.      In responding to paragraph 25, Defendant asserts that no factual
26   allegations are contained in this paragraph.
27   ///
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 1         26.    In responding to paragraph 26, Defendant asserts that the allegations in
 2   this paragraph are legal conclusions to which no response is required. To the extent
 3   any factual allegations are included therein, Defendant denies such allegations.
 4         27.    In responding to paragraph 27, Defendant asserts that no factual
 5   allegations are contained in this paragraph.
 6         28.    In responding to paragraph 28, Defendant asserts that the allegations in
 7   this paragraph are legal conclusions to which no response is required. To the extent
 8   any factual allegations are included therein, Defendant denies such allegations.
 9         29.    In responding to paragraph 29, Defendant asserts that the allegations in
10   this paragraph are legal conclusions to which no response is required. To the extent
11   any factual allegations are included therein, Defendant denies such allegations.
12         30.    In responding to paragraph 30, Defendant asserts that the allegations in
13   this paragraph are legal conclusions to which no response is required. To the extent
14   any factual allegations are included therein, Defendant denies such allegations.
15         31.    In responding to paragraph 31, Defendant admits that there is a dispute
16   between the parties as to their respective rights in the Community Musical
17   Compositions. Defendant lacks sufficient information or belief to admit or deny
18   whether Plaintiff will be or is now unable to effectively negotiate the sale of his
19   currently-vested termination rights and/or prospectively “recaptured” copyrights and
20   on that basis denies such allegations. The remaining allegations in this paragraph
21   constitute legal conclusions to which no response is required.
22                             FIRST AFFIRMATIVE DEFENSE
23                                   (Failure to State a Claim)
24         1.     As a first and separate affirmative defense, Defendant alleges that the
25   Complaint fails to state facts sufficient to constitute a cause of action against her.
26   ///
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 1                           SECOND AFFIRMATIVE DEFENSE
 2                                           (Waiver)
 3         2.     As a second and separate affirmative defense, Defendant alleges that
 4   Plaintiff, by reason of his own conduct and actions, has waived any rights he may
 5   have against Defendant.
 6                             THIRD AFFIRMATIVE DEFENSE
 7                                          (Estoppel)
 8         3.     As a third and separate affirmative defense, Defendant alleges that
 9   Plaintiff’s recovery is limited or barred by the doctrine of estoppel.
10                          FOURTH AFFIRMATIVE DEFENSE
11                                       (Unclean Hands)
12         4.     As a fourth and separate affirmative defense, Defendant alleges that
13   Plaintiff’s claim is limited or barred by the doctrine of unclean hands.
14                             FIFTH AFFIRMATIVE DEFENSE
15                                    (Copyright Assignment)
16         5.     As a fifth and separate affirmative defense, Defendant alleges that
17   pursuant to the Copyright Act, Plaintiff assigned Defendant a one-half interest in the
18   Community Musical Compositions and no termination right is available under the
19   Copyright Act with respect to that assignment.
20                             SIXTH AFFIRMATIVE DEFENSE
21                                 (Subject Matter Jurisdiction)
22         6.     As a sixth and separate affirmative defense, Defendant alleges that the
23   Copyright Act does not preempt the state law rights that Defendant obtained in the
24   Community Musical Compositions.
25                          SEVENTH AFFIRMATIVE DEFENSE
26                                  (Violation of Due Process)
27         7.     As a seventh and separate affirmative defense, Defendant alleges that the
28   Community Musical Compositions created before 1978 were subject to common law
                                                  6
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 1   copyright and that any community property interests therein could not be taken away
 2   without due process.
 3                          EIGHTH AFFIRMATIVE DEFENSE
 4                                          (Laches)
 5         8.     As an eighth and separate affirmative defense, Defendant alleges that
 6   Plaintiff, by reason of his own conduct and actions, is barred from recovery by the
 7   doctrine of laches.
 8               ADDITIONAL POTENTIAL AFFIRMATIVE DEFENSES
 9         Defendant reserves the right to amend this Answer and/or allege additional
10   affirmative defenses after conducting further discovery, investigation and research.
11                                 PRAYER FOR RELIEF
12         WHEREFORE, Defendant prays for relief as follows:
13         1.     That Plaintiff takes nothing by way of the Complaint;
14         2.     that judgment be entered for Defendant;
15         3.     that Defendant be awarded her costs of suit; and
16         4.     any other relief the Court deems appropriate.
17
     Dated: May 2, 2014                     KATTEN MUCHIN ROSENMAN LLP
18                                           Zia F. Modabber
19                                           Tami Kameda Sims
                                             Rebecca F. Ganz
20
                                            By:   /s/ Zia F. Modabber
21                                                Zia F. Modabber
22
                                            Attorneys for Defendant and Counterclaimant
                                            CLAUDETTE ROBINSON
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 1                               DEMAND FOR JURY TRIAL
 2          Defendant and Counterclaimant Claudette Robinson respectfully demands a
 3   trial by jury on any and all causes of action, claims for relief, and issues that are so
 4   triable.
 5
     Dated: May 2, 2014                       KATTEN MUCHIN ROSENMAN LLP
 6                                             Zia F. Modabber
 7                                             Tami Kameda Sims
                                               Rebecca F. Ganz
 8
                                              By:   /s/ Zia F. Modabber
 9                                                  Zia F. Modabber
10                                            Attorneys for Defendant and Counterclaimant
                                              CLAUDETTE ROBINSON
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                                       DEMAND FOR JURY TRIAL
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